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Attorney or Party Name, Address, Telephone & FAX Numbers, State Bar             FOR COURT USE ONLY
Number & Email Address
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    Debtor appearing without attorney
    Attorney for Debtor

                                                UNITED STATES BANKRUPTCY COURT
                                                 CENTRAL DISTRICT OF CALIFORNIA

List all names (including trade names) used by Debtor within                    CASE NUMBER: 2:18-19952
the last 8 years.
In re:                                                                          CHAPTER: 13
   Rose R Ramirez                                                                                     CHAPTER 13 PLAN
                                                                                                          Original
                                                                                                          1st Amended*
                                                                                                          2nd Amended*
                                                                                                          3rd Amended*
                                                                                                                   Amended*

                                                                                      *list below which sections have been changed

                                                                                            [FRBP 3015(b); LBR 3015-1]
                                                                                11 U.S.C. SECTION 341(a) CREDITORS' MEETING:
                                                                                Date:      10/19/18
                                                                                Time:      10:00AM
                                                                                               M 1, 915 Wilshire Blvd., 10th Floor, , Los
                                                                                Address:       Angeles, CA 90017.


                                                                                PLAN CONFIRMATION HEARING: [LBR 3015-1(d)]
                                                                                Date:   10/26/18
                                                                                Time:   9:30AM
                                                                                               Crtrm 1545, 255 E Temple St., Los Angeles,
                                                                                Address:       CA 90012.
                                                                  Debtor(s).

         “Bankruptcy Code” and “11 U.S.C.” refer to the United States Bankruptcy Code, Title 11 of the United States Code.
   “FRBP” refers to the Federal Rules of Bankruptcy Procedure. “LBR” and “LBRs” refer to the Local Bankruptcy Rule(s) of this court.

Part 1: PRELIMINARY INFORMATION

TO DEBTOR (THE TERM "DEBTOR" INCLUDES AND REFERS TO BOTH SPOUSES AS DEBTORS IN A JOINT
BANKRUPTCY CASE): This Chapter 13 Plan (Plan) sets out options that may be appropriate in some cases, but the


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presence of an option in this Plan does not indicate that the option is appropriate, or permissible, in your situation. A Plan
that does not comply with local rules and judicial rulings may not be confirmable. You should read this Plan carefully and
discuss it with your attorney if you have one. If you do not have an attorney, you may wish to consult one.

TO ALL CREDITORS: This Plan is proposed by Debtor and your rights may be affected by this Plan. Your claim may be
reduced, modified, or eliminated. You should read this Plan carefully and discuss it with your attorney if you have one. If
you do not have an attorney, you may wish to consult one.

If you oppose this Plan’s treatment of your claim or any provision of this Plan, you or your attorney must file a written
objection to confirmation of the Plan at least 14 days before the date set for the hearing on confirmation, unless otherwise
ordered by the Bankruptcy Court. The Bankruptcy Court may confirm this plan without further notice if no objection to
confirmation is filed. See FRBP 3015. In addition, you must file a timely proof of claim in order to be paid under any plan.
See LBR 3015-1 and FRBP 3002(a).

Defaults will be cured using the interest rate set forth below in the Plan.

The following matters may be of particular importance to you:

Debtor must check one box on each line to state whether or not this Plan includes each of the following items. If
an item is checked as “Not Included,” if both boxes are checked, or neither box is checked, the item will be
ineffective if set out later as a provision in this Plan.

     1.1    Valuation of property and avoidance of a lien on property of the bankruptcy estate, set out in Class 3.A.
            and/or Section IV (11 U.S.C. § 506(a) and (d)):
              Included        Not included

     1.2    Avoidance of a judicial lien or nonpossessory, nonpurchase-money security interest, set out in Section
            IV (11 U.S.C. § 522(f)):
               Included        Not included

     1.3    Less than full payment of a domestic support obligation that has been assigned to a governmental unit,
            pursuant to 11 U.S.C. §1322(a)(4). This provision requires that payments in Part 2 Section I.A. be for a
            term of 60 months:
               Included       Not included

     1.4    Other Nonstandard Plan provisions, set out in Section IV:
              Included      Not included

ALL CREDITORS ARE REQUIRED TO FILE A PROOF OF CLAIM IN ORDER TO HAVE AN ALLOWED CLAIM,
EXCEPT AS PROVIDED IN FRBP 3002(a). Debtor, or Attorney for Debtor (if any), are solely responsible to object to a
creditor's claim if Debtor deems it necessary. A Debtor whose Plan is confirmed may be eligible thereafter to receive a
discharge of debts to the extent specified in 11 U.S.C. § 1328.

Part 2: PLAN TERMS

Debtor proposes the following Plan terms and makes the following declarations:

Section I. PLAN PAYMENT AND LENGTH OF PLAN

     A. Monthly Plan Payments will begin 30 days from the date the bankruptcy petition was filed. If the payment due
        date falls on the 29th, 30th, or 31st day of the month, payment is due on the 1st day of the following month (LBR
        3015-1(k)(1)(A)).

           Payments by Debtor of:
           $ 2,000.00                     per month for months 1                     through      12             totaling $ 24,000.00          .
           $ 2,500.00                     per month for months 13                    through      24             totaling $ 30,000.00          .
           $ 3,100.00                     per month for months 25                    through      36             totaling $ 37,200.00          .

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          $ 3,750.00                  per month for months 37                        through      48             totaling $ 45,000.00             .
          $ 4,416.70                  per month for months 49                        through      60             totaling $ 53,000.40             .
          For a total plan length of 60 months totaling $189,200.40.

     B. Nonpriority unsecured claims.

          1. After Class 1 through Class 4 creditors are paid, allowed nonpriority unsecured claims that are not separately
             classified (Class 5) will be paid pro rata. If more than one option is checked below, the option providing the
             largest payment will be effective. Check all that apply.

               a.    "Pot" plan: The sum of $107.52

               b.    "Percentage" plan: 1% of the total amount of these claims, for an estimated payment of $107.52.

               c.     "Residual" plan: The remaining funds after disbursements have been made to all other creditors
                      provided for in this Plan, estimated to pay $107.52 equivalent to 1% of these claims.

          2. Minimum Plan payments. Regardless of the options checked above, payments on allowed nonpriority
             unsecured claims will be made in at least the following amounts: (a) the sum of $171,740.00, representing the
             value of non-exempt assets that would have to be paid to nonpriority unsecured creditors if the bankruptcy
             estate of Debtor were liquidated under Chapter 7 (11 U.S.C. § 1325(a)(3)) and (b) if Debtor has
             above-median income and otherwise subject to 11 U.S.C. § 1325(b), the sum of $             , representing all
             disposable income payable for 60 months.

     C. Regular Plan payments to the Chapter 13 Trustee will be made from future income in the following manner:
        Check all that apply.
          Debtor will make Plan payments pursuant to a payroll deduction order.
          Debtor will make Plan payments directly to the Chapter 13 Trustee.
          Other (specify method of payment):.

     D. Income tax refunds. Debtor will provide the Chapter 13 Trustee with a copy of each income tax return filed during
        the Plan term within 14 days of filing the return and, unless the Plan provides 100% payment to nonpriority
        unsecured creditors (Class 5), will turn over to the Chapter 13 Trustee all income tax refunds in excess of $500
        received during the Plan term.

     E. In the event that secured creditor(s) file a Notice of Postpetition Fees and Costs pursuant to FRBP 3002.1(c), the
        Chapter 13 Trustee is authorized, but not required, to commence paying those charges 90 days after that notice
        is filed, unless within that time the Debtor contests those charges by filing a motion to determine payment under
        FRBP 3002.1(e) or agrees to pay those charges by filing a motion to modify this Plan.

     F. Debtor must make preconfirmation adequate protection payments for any creditor that holds an allowed claim
        secured by personal property where such security interest is attributable to the purchase of such property and
        preconfirmation payments on leases of personal property whose allowed claim is impaired by the terms proposed
        in this Plan. Debtor must make preconfirmation adequate protection payments and preconfirmation lease
        payments to the Chapter 13 Trustee for the following creditor(s) in the following amounts:

         Creditor/Lessor Name                 Collateral Description                   Last 4 Digits of Account #                   Amount
Wells Fargo Bank                      108 Prairie Drive San Dimas, CA              xxxxxx1672                                             $1,709.03
                                      91773 Los Angeles County

          Each adequate protection payment or preconfirmation lease payment will accrue beginning the 30th day from the
          date of filing of the case. The Chapter 13 Trustee must deduct the foregoing adequate protection payment(s)
          and/or preconfirmation lease payment from Debtor's Plan Payment and disburse the adequate protection
          payment or preconfirmation lease payment to the secured creditor(s) at the next available disbursement or as
          soon as practicable after the payment is received and posted to the Chapter 13 Trustee’s account. The Chapter
          13 Trustee will collect his or her statutory fee on all receipts made for preconfirmation adequate protection
          payments or preconfirmation lease payments.

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     G. Debtor must not incur debt greater than $1,000 without prior court approval unless the debt is incurred in the
        ordinary course of business pursuant to 11 U.S.C. §1304(b) or for medical emergencies.

     H. The Chapter 13 Trustee is authorized to disburse funds after the date the Plan confirmation is announced in open
        court.

     I.   Debtor must file timely all postpetition tax returns and pay timely all postconfirmation tax liabilities directly to the
          appropriate taxing authorities.

     J.   Debtor must pay all amounts required to be paid under a Domestic Support Obligation that first became payable
          after the date of the filing of the bankruptcy petition.

     K. If the Plan proposes to avoid a lien of a creditor, the Chapter 13 Trustee must not disburse any payments to that
        creditor on that lien until the Plan confirmation order is entered

Section II. ORDER OF PAYMENT OF CLAIMS; CLASSIFICATION AND TREATMENT OF CLAIMS:

     Except as otherwise provided in this Plan or by court order, the Chapter 13 Trustee must disburse all available funds
     for the payment of claims as follows:

     A. ORDER OF PAYMENT OF CLAIMS:

          The order of the payments will be:

          1st    If there are Domestic Support Obligations, the order of priority will be:

                      (a) Domestic Support Obligations and the chapter 13 trustee’s fee not exceeding the amount accrued
                         on Plan Payments made to date;

                      (b) Administrative expenses until paid in full;

                 If there are no Domestic Support Obligations, the order of priority will be:

                      (a) The chapter 13 trustee’s fee not exceeding the amount accrued on Plan Payments made to date;

                      (b) Administrative expenses (Class 1(a)) until paid in full.

          2nd Subject to the 1st paragraph, pro rata to all secured claims and all priority unsecured claims except as
              otherwise provided in this Plan.

          3rd    Non-priority unsecured creditors will be paid pro rata except as otherwise provided in this Plan. No payment
                 will be made on nonpriority unsecured claims until all the above administrative, secured and priority claims
                 have been paid in full unless otherwise provided in this Plan.

     B. CLASSIFICATION AND TREATMENT OF CLAIMS:




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                                                                     CLASS 1


                     ALLOWED UNSECURED CLAIMS ENTITLED TO PRIORITY UNDER 11 U.S.C. §507
                        Class 1 claims will be paid pro rata in the order set forth in Section II.A. above.

Unless otherwise ordered by the court, the claim amount stated on a proof of claim, and the dollar amount of any
allowed administrative expense, controls over any contrary amount listed below.

                                                    AMOUNT OF                   INTEREST                                TOTAL
                CATEGORY
                                                  PRIORITY CLAIM                RATE, if any                           PAYMENT

a. Administrative Expenses

(1)     Chapter 13 Trustee’s Fee – estimated at 11% of all payments to be made to all classes through this Plan.

(2)     Attorney’s Fees                                        $2,500.00                                                                  $2,500.00

(3)     Chapter 7 Trustee’s Fees


(4)     Other

(5)     Other

b. Other Priority Claims

(1)     Internal Revenue Service

(2)     Franchise Tax Board

(3)     Domestic Support Obligation

(           )       Other

c.      Domestic Support Obligations that have been assigned to a governmental unit and are not to be paid in full in the
        Plan pursuant to §1322(a)(4) (this provision requires that payments in Part 2 Section I.A. be for a term of 60
        months)

        (specify creditor name):




                                                                     CLASS 2


                CLAIMS SECURED SOLELY BY PROPERTY THAT IS DEBTOR’S PRINCIPAL RESIDENCE
                   ON WHICH OBLIGATION MATURES AFTER THE FINAL PLAN PAYMENT IS DUE
Check one.


       None. If "None" is checked, the rest of this form for Class 2 need not be completed.

        Debtor will maintain and make the current contractual installment payments on the secured claims listed below,
       with any changes required by the applicable contract and noticed in conformity with any applicable rules. These


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       payments will be disbursed either by the Chapter 13 Trustee or directly by Debtor, as specified below. Debtor will
       cure the prepetition arrearages, if any, on a listed claim through disbursements by the Chapter 13 Trustee, with
       interest, if any, at the rate stated.

       Unless otherwise ordered by the court, the arrearage amount stated on a proof of claim controls over any contrary
       amount listed below.

                                                                                                                                     POST-
                                                                                  ESTIMATED                                        PETITION
                             LAST 4 DIGITS AMOUNT OF                                                          ESTIMATED
       NAME OF                                                          INTEREST   MONTHLY                                        MORTGAGE
                             OF ACCOUNT ARREARAGE,                                                              TOTAL
       CREDITOR                                                           RATE   PAYMENT ON                                        PAYMENT
                               NUMBER        IF ANY                                                           PAYMENTS
                                                                                 ARREARAGE                                        DISBURSING
                                                                                                                                     AGENT
Wells Fargo Bank             xxxxxx1672           $435,600.00           0.00            $7,383.05            $435,600.00          Trustee
                                                                                                                                   Debtor



                                                                    CLASS 3A


                    CLAIMS SECURED BY REAL OR PERSONAL PROPERTY WHICH ARE TO BE PAID
                                  IN FULL DURING THE TERM OF THIS PLAN.

Check one.


      None. If "None" is checked, the rest of this form for Class 3A need not be completed.

      Debtor proposes:

     (1) Bifurcation of Claims - Dollar amounts/lien avoidance. Except as provided below regarding bifurcation of
        claims into a secured part and an unsecured part, and unless otherwise ordered by the court, the claim amounts
        listed on a proof of claim control this Plan over any contrary amounts listed below.

         (a) Bifurcated claims - secured parts: Debtor proposes that, for the purposes of distributions under this Plan, the
            dollar amount of secured claims in this Class 3A should be as set forth in the column headed “Secured Claim
            Amount.” For that dollar amount to be binding on the affected parties, either

             (i) Debtor must obtain a court order granting a motion fixing the dollar amount of the secured claim and/or
                 avoiding the lien, or

             (ii) Debtor must complete and comply with Part 2 Section IV.C., so that the Plan itself serves as such a motion;
                  the "Included" boxes must be checked in Part 1 Paragraph 1.4 (indicating a nonstandard provision in
                  Section IV.C.) and Part 1 Paragraphs 1.1 and/or 1.2 (indicating that this Plan includes valuation and lien
                  avoidance, and/or avoidance of a judicial lien or nonpossessory, nonpurchase-money lien in Section IV.C.);
                  and this Plan must be confirmed - if any one of those conditions is not satisfied, then the claim will not be
                  bifurcated into a secured part and an unsecured part pursuant to this sub-paragraph.

         (b) Bifurcated claims - unsecured parts: Any allowed claim that exceeds the amount of the secured claim will be
            treated as a nonpriority unsecured claim in Class 5 below.

     (2) Taxes/insurance. Debtor must pay all required ongoing property taxes and homeowner's insurance for real
        property paid in full in this class.




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                                 LAST 4 DIGITS                           SECURED                             ESTIMATED            ESTIMATED
                                                          CLAIM                             INTEREST
  NAME OF CREDITOR               OF ACCOUNT                               CLAIM                               MONTHLY               TOTAL
                                                          TOTAL                               RATE
                                   NUMBER                                AMOUNT                               PAYMENT             PAYMENTS




                                                                    CLASS 3B


                                        SECURED CLAIMS EXCLUDED FROM 11 U.S.C. §506

Check one.


      None. If "None" is checked, the rest of this form for Class 3B need not be completed.

      The claims listed below were either:

1. Incurred within 910 days before the petition date and secured by a purchase money security interest in a motor
  vehicle   acquired for the personal use of Debtor, or

2. Incurred within 1 year of the petition date and secured by a purchase money security interest in any other thing of
  value.

These claims will be paid in full under this Plan with interest at the rate stated below. Unless otherwise ordered by the
court, the claim amount stated on a proof of claim controls over any contrary amount listed below.
                                            LAST 4
                                                                                                          ESTIMATED               ESTIMATED
                                           DIGITS OF                                  INTEREST
      NAME OF CREDITOR                                        CLAIM TOTAL                                  MONTHLY                  TOTAL
                                           ACCOUNT                                      RATE
                                                                                                           PAYMENT                PAYMENTS
                                           NUMBER




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                                                                     CLASS 4


                       OTHER CLAIMS ON WHICH THE LAST PAYMENT ON A CLAIM IS DUE AFTER
                              THE DATE ON WHICH THE FINAL PLAN PAYMENT IS DUE
   Check one.

      None. If “None” is checked, the rest of this form for Class 4 need not be completed.

      Debtor will maintain and make the current contractual installment payments (Ongoing Payments) on the secured
     claims listed below, with any changes required by the applicable contract and noticed in conformity with any
     applicable rules. These payments will be disbursed either by the Chapter 13 Trustee or directly by Debtor, as
     specified below. Debtor will cure and pay the prepetition arrearages, if any, on a claim listed below through
     disbursements by the Chapter 13 Trustee, with interest, if any, at the rate stated. Unless otherwise ordered by the
     court, the dollar amount of arrearage stated on a proof of claim controls over any contrary amount listed below.

                                                                                          Cure of Default
                          LAST 4 DIGITS OF                                                  ESTIMATED                                ONGOING
     NAME OF                                       AMOUNT OF                                                    ESTIMATED
                             ACCOUNT                                     INTEREST            MONTHLY                                 PAYMENT
     CREDITOR                                      ARREARAGE,                                                     TOTAL
                             NUMBER                                        RATE            PAYMENT ON                               DISBURSING
                                                     IF ANY                                                     PAYMENTS
                                                                                           ARREARAGE                                   AGENT
                                                                                                                                   Trustee
                                                                                                                                   Debtor



                                                                    CLASS 5A

                      NON-PRIORITY UNSECURED CLAIMS NOT SEPARATELY CLASSIFIED
Allowed nonpriority unsecured claims not separately classified must be paid pursuant to Section I.B. above.


                                            SEPARATE CLASSIFICATION:
Check all that apply if Debtor proposes any separate classification of nonpriority unsecured claims.
     None. If "None" is checked, the rest of this form for Class 5 need not be completed.



                                                                    CLASS 5B


    Maintenance of payments. Debtor will maintain and make the contractual installment payments on the unsecured
claims listed below on which the last payment is due after the final Plan payment. The contractual installment payments
will be disbursed by Debtor.

                                                      LAST 4
                                                                                              ESTIMATED
                                                     DIGITS OF          INTEREST                                        ESTIMATED TOTAL
          NAME OF CREDITOR                                                                     MONTHLY
                                                     ACCOUNT              RATE                                             PAYMENTS
                                                                                               PAYMENT
                                                     NUMBER




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                                                                    CLASS 5C

      Maintenance of payments and cure of any default. Debtor must maintain and make the contractual installment
     payments and cure any default in payments on the unsecured claims listed below on which the last payment is due
     after the final Plan payment. The claim for the arrearage amount will be paid in full as specified below and disbursed
     by the Chapter 13 Trustee.
                                       LAST 4                                          Cure of Default
                                             DIGITS OF        AMOUNT OF                              ESTIMATED
        NAME OF CREDITOR                                                          INTEREST                                ESTIMATED TOTAL
                                             ACCOUNT          ARREARAGE                               MONTHLY
                                             NUMBER                                 RATE                                     PAYMENTS
                                                                                                      PAYMENT




                                                                    CLASS 5D

      Other separately classified nonpriority unsecured claims.
                                                      LAST 4
                                                                        AMOUNT TO BE              INTEREST
                                                     DIGITS OF                                                       ESTIMATED TOTAL
          NAME OF CREDITOR                                               PAID ON THE               RATE (if
                                                     ACCOUNT                                                       AMOUNT OF PAYMENTS
                                                                            CLAIM                 applicable)
                                                     NUMBER




                                                                     CLASS 6


                                                      SURRENDER OF COLLATERAL

   Check one.

      None. If “None” is checked, the rest of this form for Class 6 need not be completed.

      Debtor elects to surrender to each creditor listed below the collateral that secures the creditor’s claim. Debtor
     requests that upon confirmation of the Plan the stay under 11 U.S.C. § 362(a) be terminated as to the collateral only
     and that the stay under 11 U.S.C. §1301 be terminated in all respects. Any allowed unsecured claim resulting from
     the disposition of the collateral will be treated in Class 5 above.


       Creditor Name:                                                   Description:




                                                                     CLASS 7


                                       EXECUTORY CONTRACTS AND UNEXPIRED LEASES
   Check one.

      None. If “None” is checked, the rest of this form for Class 7 need not be completed.

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      The executory contracts and unexpired leases listed below are treated as specified (identify the contract or lease at
     issue and the other party(ies) to the contract or lease):


     Creditor Name:

     Description:
                                Rejected                                           Assumed; cure amount (if any): $

     Creditor Name:

     Description:
                                Rejected                                           Assumed; cure amount (if any): $

     Payments to be cured within          months of filing of the bankruptcy petition. All cure payments will be
     made through the Chapter 13 Trustee.

    See attachment for additional claims in Class 7.


Section III. PLAN SUMMARY



                 CLASS 1a                                                                                                    $2,500.00

                 CLASS 1b                                                                                                         $0.00

                 CLASS 1c                                                                                                         $0.00

                 CLASS 2                                                                                                  $435,600.00

                 CLASS 3A                                                                                                         $0.00

                 CLASS 3B                                                                                                         $0.00

                 CLASS 4                                                                                                          $0.00

                 CLASS 5                                                                                                       $107.52

                 CLASS 7                                                                                                  $488,600.00

                 SUB-TOTAL                                                                                                $438,207.52
                 CHAPTER 13 TRUSTEE'S FEE
                 (Estimated 11% unless advised otherwise)                                                                  $48,202.88

                 TOTAL PAYMENT                                                                                            $486,410.40

Section IV. NON-STANDARD PLAN PROVISIONS

        None. If “None” is checked, the rest of Section IV need not be completed.

    Pursuant to FRBP 3015(c), Debtor must set forth all nonstandard Plan provisions in this Plan in this separate
    Section IV of this Plan and must check off the “Included” box or boxes in Paragraphs 1.1, 1.2, 1.3 and/or 1.4
    of Part 1 of this Plan. Any nonstandard Plan provision that does not comply with these requirements is
    ineffective. A nonstandard Plan provision means any Plan provision not otherwise included in this mandatory
    Chapter 13 Plan form, or any Plan provision deviating from this form.

    The nonstandard Plan provisions seeking modification of liens and security interests address only those
    liens and security interests known to Debtor, and known to be subject to avoidance, and all rights are
    reserved as to any matters not currently known to Debtor.

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           A. Debtor’s Intent to File Separate Motion to Value Property Subject to Creditor’s Lien or Avoid Creditor’s Lien
        [11 U.S.C. § 506(a) and (d)]. Debtor will file motion(s) to value real or personal property of the bankruptcy estate
        and/or to avoid a lien pursuant to 11 U.S.C § 506(a) and (d), as specified in Attachment A.
            B. Debtor’s Intent to File Separate Motion to Avoid Creditor’s Judicial Lien or Nonpossessory, Nonpurchase
        Security Interest [11 U.S.C. § 522(f)]. Debtor will file a Motion to avoid a judicial lien or nonpossessory,
        nonpurchase-money security interest, on real or personal property of the bankruptcy estate listed below pursuant
        to 11 U.S.C § 522(f). If the court enters an order avoiding a lien under 11 U.S.C. § 522(f), the Chapter 13 Trustee
        will not pay any claim filed based on that lien as a secured claim.

Name of Creditor Lienholder/Servicer:

Description of lien and collateral (e.g., 2nd lien on 123 Main St.):


Name of Creditor Lienholder/Servicer:

Description of lien and collateral (e.g., 2nd lien on 123 Main St.):


Name of Creditor Lienholder/Servicer:

Description of lien and collateral (e.g., 2nd lien on 123 Main St.):



    C. Debtor’s Request in this Plan to Modify Creditor’s Secured Claim and Lien. Debtor proposes to modify the following
       secured claims and liens in this Plan without a separate motion or adversary proceeding - this Plan will serve as
       the motion to value the collateral and/or avoid the liens as proposed below. To use this option, Debtor must
       serve this Plan, LBR Form F 3015-1.02.NOTICE.341.LIEN.MOD.PLAN.CONFRM and all related exhibits as
       instructed in that form.


                        DEBTOR'S REQUEST TO MODIFY CREDITOR'S SECURED CLAIM AND LIEN

       TO CREDITOR LIENHOLDER/SERVICER
                                                                   Wells Fargo Bank, N.A.
           Debtor has been approved for the Bankruptcy Loan Modification Plan per Court Orrder 10/15/2018 Docket
           No.37. Adequate protection payments of $1709.03
         x       Real property collateral (street address and/or legal description or document recording number,
                 including county of recording:
                       108 Prairie Drive, San Dimas, CA 91773
                    (attach page with legal description of property or document recording number as appropriate).

                    Other collateral (add description such as judgment date, date and place of lien recording, book and
                    page number):


                    11 U.S.C. § 522(f) – Debtor seeks avoidance of your lien(s) on the above described collateral effective
                    immediately upon issuance of the order confirming this Plan.

                    11 U.S.C. § 506(a) and (d) – Debtor seeks avoidance of your lien(s) on the above described collateral
                    that will be effective upon the earliest to occur of either payment of the underlying debt determined
                    under nonbankruptcy law or one of the following:



                    (1) discharge under 11 U.S.C. § 1328, or

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                       (2) if the value of the “amount of remaining secured claim” listed below is “$-0-“ then upon completion of
                          all Plan payments.

     Value of collateral: ........................................................................................................................... $
     Liens reducing equity (to which subject lien can attach): $                                              +$              +$              = .. ($            )
     Exemption (only applicable for lien avoidance under 11 U.S.C. § 522(f):....................................... ($                                           )

     Wherefore, Debtor requests that this court issue an order granting the foregoing property valuation
     and/or lien avoidance of the above-listed creditor on the above-described collateral in the form
     Attachment B, C and/or D to this Plan, as applicable. (Debtor must use and attach a separate Attachment
     B, C and/or D which are also mandatory court forms for modification of each secured claim and lien.)

     Amount of remaining secured claim (negative results should be listed as $-0): ............................. $

     Note: See other parts of this Plan for the proposed treatment of any remaining secured claim (generally Class 3).


    D. Other Non-Standard Plan Provisions: (use attachment, if necessary):

V. REVESTING OF PROPERTY

          Property of the bankruptcy estate will not revest in Debtor until a discharge is granted or the case is dismissed or
          closed without discharge. Revesting will be subject to all liens and encumbrances in existence when the case was
          filed, except those liens avoided by court order or extinguished by operation of law. In the event the case is
          converted to a case under Chapter 7, 11, or 12 of the Bankruptcy Code, the property of the estate will vest in
          accordance with applicable law. After confirmation of this Plan, the Chapter 13 Trustee will not have any further
          authority or fiduciary duty regarding use, sale, or refinance of property of the estate except to respond to any
          motion for proposed use, sale, or refinance as required by the LBRs. Prior to any discharge or dismissal, Debtor
          must seek approval of the court to purchase, sell, or refinance real property.

By filing this document, the Attorney for Debtor, or Debtor if not represented by an attorney, also certify(ies) that
the wording and order of the provisions in this Plan are identical to those contained in the Central District of
California Chapter 13 Plan other than any nonstandard Plan provisions included in Section IV.



Date:       October 18, 2018                                                                   /s/ Randolph R. Ramirez, Esq.
                                                                                               Randolph R. Ramirez, Esq. SBN297928
                                                                                               Attorney for Debtor(s)


                                                                                               /s/ Rose R Ramirez
                                                                                               Rose R Ramirez
                                                                                               Debtor 1


                                                                                               Debtor 2




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                       ATTACHMENT A TO CHAPTER 13 PLAN/CONFIRMATION ORDER
                        (11 U.S.C. §§ 506: VALUATION/LIEN AVOIDANCE BY SEPARATE MOTION(S))

   None. If "None" is checked, the rest of this Attachment A need non be completed.


1. Creditor Lienholder/Servicer:
      Subject Lien (e.g., 2nd Lien on 123 Main
      St.):


2. Creditor Lienholder/Servicer:
      Subject Lien (e.g., 3rd Lien on 123 Main St.):


3. Creditor Lienholder/Servicer:
      Subject Lien (e.g., 4th Lien on 123 Main St.):


4. Creditor Lienholder/Servicer:
      Subject Lien (e.g., 2nd Lien on 123 Main
      St.):


5. Creditor Lienholder/Servicer:
      Subject Lien (e.g., 3rd Lien on 123 Main St.):


6. Creditor Lienholder/Servicer:
      Subject Lien (e.g., 4th Lien on 123 Main St.):


7. Creditor Lienholder/Servicer:
      Subject Lien (e.g., 2nd Lien on 123 Main
      St.):


8. Creditor Lienholder/Servicer:
      Subject Lien (e.g., 3rd Lien on 123 Main St.):


9. Creditor Lienholder/Servicer:
      Subject Lien (e.g., 4th Lien on 123 Main St.):


(Attach additional pages for more liens/provisions.)

CERTIFICATION: I have prepared this attachment (including any additional pages) for use by the Chapter 13 Trustee. I
certify under penalty of perjury under the laws of the United States of America that the information provided in this
attachment is accurate to the best of my knowledge after reasonable inquiry, and I acknowledge that the Chapter 13
Trustee has no duty to verify the accuracy of that information.

Executed on (date)          October 18, 2018


Print name:       Randolph R. Ramirez, Esq. SBN297928

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    Attorney for Debtor or              Debtor appearing without attorney




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